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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MARLON E. BRACKEN,                              )
                                                )
                       Plaintiff,               )
                                                )
       vs.                                      )      Case No. 19-cv-03940
                                                )
ROUNDY’S ILLINOIS, LLC                          )
d/b/a MARIANO’s,                                )
                                                )
                       Defendant.               )

                      DEFENDANT’S ANSWER AND AFFIRMATIVE
                      DEFENSES TO FIRST AMENDED COMPLAINT

       Defendant     Roundy’s       Illinois,   LLC   d/b/a   Mariano’s,    improperly    named     as

“Kroger/Roundy’s (dba) Marianos” (“Defendant,” “Mariano’s” or the “Company”), by its

undersigned counsel, respectfully answers the First Amended Complaint (Dkt. No. 25, the

“Complaint”) filed by Plaintiff Marlon E. Bracken (“Bracken” or “Plaintiff”), as follows:

                                        Preliminary Statement
       This is an action to address racial discrimination in violation of Title VII of the Civil Rights
Act of 1964 and 42 U.S.C. § 1981, in that plaintiff MARLON E. BRACKEN was denied a fair
opportunity to be hired and promoted to the position of meat cutter, at the Mariano’s State located
at 2999 Waukegan Road, Bannockburn, Illinois, because of plaintiffs race, African American.

       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations can be construed as stating allegations of

fact, those allegations are denied.


        1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331, 1343, and 1345.
This action is authorized and instituted pursuant to the Civil Rights Act of 1991, 42 U.S.C. §2000e-
5(f)91) and (3), (hereinafter referred to as “Title VII”). Venue is proper in the Northern District
of Illinois pursuant to 28 U.S.C. Section 19391, because defendant ROUNDY’S ILLINOIS LLC
d/b/a MARIANO’S is an Illinois limited liability corporation, doing business in several locations
within the Northern District of Illinois.
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       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations can be construed as stating allegations of

fact, those allegations are denied. Answering further, Defendant does not challenge this Court’s

exercise of subject matter jurisdiction over this controversy.


       2.      The plaintiff, MARLON E. BRACKEN, is a U.S. citizen who resides in the county
of Lake, in the State of Illinois. At all material times, plaintiff MARLON E. BRACKEN was
employed by ROUNDY’S ILLINOIS LLC, d/b/a MARIANO’S in the position of meat clerk at
the Mariano’s Grocery Store located at 2999 Waukegan Road, Bannockburn, Illinois. As an
employee at the Mariano’s Grocery Store located at 2999 Waukegan Road, Bannockburn, Illinois,
the corporate entity and employer identified on plaintiff’s annual IRS W-2 tax form was, Kroger,
1014 Vine Street, Cincinnati, Ohio 45202.

       ANSWER:         The allegations in the first sentence of this paragraph state a legal

conclusion to which no response is required. To the extent that the allegations can be construed as

stating allegations of fact, Defendant lacks sufficient information to either admit or deny those

allegation, and therefore denies them. Answering further, Defendant admits that Plaintiff has been

employed by the Company since February 15, 2017, and has been assigned to the Mariano’s store

located at 2999 in Bannockburn, Illinois, and referred to as “Store No. 502.” Defendant further

admits that “Kroger Accounting Services” provides payroll and accounting services to Mariano’s

(and other corporate brands held by “The Kroger Co.,”) in order to leverage economies of scale

under a “shared services” business model. Defendant denies that Plaintiff is, or ever has been,

employed by “Kroger” or “The Kroger Co.,” and denies all remaining allegations in this paragraph.


       3.      Defendant ROUNDY’S ILLIONIS LLC, d/b/a MARIANO’S operates several
Mariano’s Grocery Stores throughout Cook County, Will County and Lake County Illinois, and
throughout the Chicago metropolitan area within the Northern District of Illinois.

       ANSWER:         Defendant admits the facts alleged in this paragraph.


       4.       Upon information and belief, working in the meat industry as a meat cutter or
butcher is a trade that requires a natural progression of training. To start a career as a meat cutter,


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an individual will need to develop skills with knives, knowledge of animal anatomy and receive
training to work in cold temperatures.

       ANSWER:         Defendant lacks sufficient information at this time to either admit or deny

the allegations in this Paragraph, and on that basis denies the allegations. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


       5.       Upon information and belief, within the mean industry, a “meat clerk” is the lowest
paid position of the meat cutter professions. Meat clerks are usually assigned the duties and
responsibilities of wrapping the meat that has been cut and slicing of lunch meat, as well as the
responsibility to properly clean the meat shop at night.

       ANSWER:         Defendant lacks sufficient information at this time to either admit or deny

the allegations in this Paragraph, and on that basis denies the allegations. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


        6.      Before a person that has been hired as a “meat clerk” may be promoted or advanced
to the position of “journeyman meat cutter,” an individual must first have experience working in
the industry for a few years which is often called an apprentice period. Two years’ apprentice
experience as a meat cutter, that is, working under the supervision of a journeyman meat cutter, is
routinely sufficient to qualify for advance to a journeyman meat cutter position.

       ANSWER:         Defendant lacks sufficient information at this time to either admit or deny

the allegations in this Paragraph, and on that basis denies the allegations. Defendant further denies

there is any merit to Plaintiff’s claims, denies the applicability of the purported standards

referenced in this paragraph, denies any and all wrongdoing or liability on its part, and denies that

any conduct by Defendant has given rise to any claims.


       7.     Upon information and belief, the average annual wage for a journeyman meat cutter
at Mariano’s earns approximately $25-27 per hour which produce and annual salary of
approximately fifty-four thousand dollars ($54,000.00), while a Level 3 meat clerk at Mariano’s




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in the Chicago area earns an annual salary of approximately thirty-one thousand dollars
($31,000.00).

       ANSWER:         Defendant denies the allegations of this paragraph.


       8.      Prior to applying for a journeyman meat cutter position with Mariano’s in February
2017, plaintiff had been employed by stores operated and owned by the parent corporation of
Mariano’s named Kroger/Roundy’s Incorporated, and had been trained and worked as an
experienced meat cutter for over 13 years.

       ANSWER:         Defendant lacks sufficient information at this time to either admit or deny

the allegations in this Paragraph, and on that basis denies the allegations. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


      9.     From 1982 and continuing until 1990, plaintiff was employed as a meat cutter for
Murco, Incorporated (Swift) located in Plainfield, Michigan.

       ANSWER:         Defendant lacks sufficient information at this time to either admit or deny

the allegations in this Paragraph, and on that basis denies the allegations. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


       10.   From 1990 until 1996, plaintiff was employed as an experienced meat cutter for
two Kroger owned grocery stores: Cub Food in Indianapolis, Indiana and Archer Meats located
in Greenwood, Indiana.

       ANSWER:         Defendant denies the allegations of this paragraph.


        11.     Sometime before February 2017, Mariano’s through the Kroger Corporation
Website, solicited applications for individuals to apply for available journeyman meat cutter
positions, electronically, on-line.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that employment applications at Mariano’s can be submitted through the

Company’s web-based system. Defendant denies the remaining allegations of this paragraph.


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       12.      After plaintiff was unable to submit his application for the meat cutter position
through the Kroger Corporation website electronically, on-line, plaintiff, during the month of
February 2017, visited the Mariano’s Grocery Store located at 450 Half Day Road, in Buffalo
Grove, Illinois to apply for a journeymen meat cutter position in-person.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that Plaintiff applied for a position with Mariano’s in or about February of 2017.

Defendant denies the remaining allegations of this paragraph. Defendant further denies there is

any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and denies

that any conduct by Defendant has given rise to any claims.


        13.     While present at the Mariano’s store in Buffalo Grove, plaintiff met with the
Human Resource Director, Kelly Anne, to inquire about the journeymen meat cutter position that
was listed on the Kroger website.

       ANSWER:         Defendant lacks sufficient information at this time to either admit or deny

allegations in this Paragraph, and on that basis denies the allegations. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


        14.    Plaintiff was told by the Human Resource Director during this meeting, that while
there were no vacant meat cutter positions available at the Buffalo Grove location, plaintiff,
alternatively was clearly qualified to be hired as a Level 3 meat clerk immediately. Plaintiff
accepted the Level 3 meat clerk position and began to work for the Mariano’s Store located at 450
Half Day Road, in Buffalo Grove, in order to begin to earn seniority as a Mariano’s employee for
available future meat cutter advancement opportunities.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that Mariano’s hired Plaintiff as an hourly “Level 3” team member on or about

February 15, 2017. Defendant denies the remaining allegations of this paragraph. Defendant

further denies there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on

its part, and denies that any conduct by Defendant has given rise to any claims.




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        15.    In July 2017, plaintiff learned that a meat cutter position became available at the
Mariano’s located 2999 Waukegan Road, Bannockburn, Illinois. Plaintiff immediately applied for
the position with the assistance of the human resource department at the Mariano’s Buffalo Grove
store.

       ANSWER:         Defendant lacks sufficient information at this time to either admit or deny

allegations in this Paragraph, and on that basis denies the allegations. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


         16.     In or about mid-September 2017, plaintiff was informed by another Human
Resource officer that plaintiff had been selected for the vacant meat cutter position and was
thereafter transferred to the Mariano’s Store located at 2999 Waukegan Road Bannockburn,
Illinois with a start date of October 4, 2017.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that Plaintiff was transferred to the Mariano’s store located at 2999 Waukegan

Road in Bannockburn, Illinois. Defendant denies the remaining allegations of this paragraph.

Defendant further denies there is any merit to Plaintiff’s claims, denies any and all wrongdoing or

liability on its part, and denies that any conduct by Defendant has given rise to any claims.


        17.     On October 2, 2017, a representative at the Mariano’s Store located 2999
Waukegan Road, Bannockburn, informed plaintiff that he would not be assigned the position of
meat cutter as he had been told when he arrives, but instead, would continue in the position of
meat clerk, because the meat cutter position had been given to another individual who had more
seniority as a Mariano’s employee.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that Plaintiff was transferred to the Mariano’s store located at 2999 Waukegan

Road in Bannockburn, Illinois. Defendant denies the remaining allegations of this paragraph.

Defendant further denies there is any merit to Plaintiff’s claims, denies any and all wrongdoing or

liability on its part, and denies that any conduct by Defendant has given rise to any claims.




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        18.    On October 4, 2017, plaintiff, as directed, reported to work in the meat department
at the Mariano’s Store located 2999 Waukegan Road, Bannockburn. Plaintiff was then told by the
meat department merchandiser, Chris Piane that he was not assigned the position of meat cutter,
because he “did not fit the profile.”

       ANSWER:         Defendant denies the allegations of Paragraph 18. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


       19.       On October 6, 2017, plaintiff learned the Mariano’s store located at 2999
Waukegan Road, Bannockburn, had recently hired two non-African American meat cutters, after
refusing to first offer an available vacant meat cutter position to plaintiff, an experienced, qualified
African American meat cutter. Plaintiff also learned that neither of the newly hired, non-African
American meat cutters had been employed by Mariano’s before being hired, and therefore had no
Mariano’s employment seniority for advancement when compared to plaintiff, who had been hired
by Mariano’s in February 2017.

       ANSWER:         Defendant denies the allegations of Paragraph 19. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


        20.     Plaintiff immediately complained about what he perceived as unfair treatment and
suspected racial discrimination in denying him the opportunity to be advanced to one of the
available meat cutter positions that had been recently filled. In response to plaintiff’s complaints,
Mariano’s supervisors, managers and agents took steps to conceal and cover-up their suspected
racial discriminatory conduct by falsely telling plaintiff that he could not be assigned or promoted
to a meat cutter position because he did possess a meat cutter certification, and further falsely
claimed that plaintiff’s prior work experience as an experienced meat cutter for several other
Kroger stores could not be considered because his meat cutter experience because was not with
Mariano’s.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that Plaintiff initiated a workplace grievance pursuant to the Company’s collective

bargaining agreement. Defendant denies any facts or allegations that are inconsistent with the

administration and resolution of that workplace grievance, and denies the remaining allegations of

this paragraph. Defendant further denies there is any merit to Plaintiff’s claims, denies any and all



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wrongdoing or liability on its part, and denies that any conduct by Defendant has given rise to any

claims.


        21.     In response to these false explanations, plaintiff filed a grievance with his local
union, Local 881, United Food and Commercial Workers International Union (“UFCW”), alleging
racial discrimination and unfair treatment. In an attempt to address plaintiff’s racial discrimination
grievance, defendant agreed to advance plaintiff to a meat cutter position if plaintiff could
demonstrate his meat cutter experience by completing a meat cutter “skills tests.” Plaintiff agreed
and waited for a meat cutter “skills test” to be given.

          ANSWER:      Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that Plaintiff initiated a workplace grievance pursuant to the Company’s collective

bargaining agreement. Defendant denies any facts or allegations that are inconsistent with the

administration and resolution of that workplace grievance, and denies the remaining allegations of

this paragraph. Defendant further denies there is any merit to Plaintiff’s claims, denies any and all

wrongdoing or liability on its part, and denies that any conduct by Defendant has given rise to any

claims.


        22.      When defendant failed to arrange and/or schedule a time for plaintiff to take the
agreed meat cutter “skills test”, plaintiff again complained to his supervisors. Thereafter, on
October 18, 2017, Chris Piane, the Mariano’s supervisor and meat merchandiser who had refused
to hire plaintiff for the available position of meat cutter, hastily delivered to plaintiff what Piane
described as a meat cutter “skills test” written on a card. Piane then instructed plaintiff to go to
the meat case and properly identify and select the particular portions of meat that would be cut,
such as, a “Top Round”, “Sirloin Top”, “Shoulder Clod”, “Shank”, and “BI Strip”.

          ANSWER:      Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that Plaintiff initiated a workplace grievance pursuant to the Company’s collective

bargaining agreement. Defendant denies any facts or allegations that are inconsistent with the

administration and resolution of that workplace grievance, and denies the remaining allegations of

this paragraph. Defendant denies there is any merit to Plaintiff’s claims, denies any and all

wrongdoing or liability, and denies that any conduct by Defendant has given rise to any claims.



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        23.    Per the written instructions provided by Chris Piane, plaintiff properly identified,
cut, and displayed the specific cuts of meat from each meat portion as has been directed - such as
“top round steaks”, “roasts”, “boneless short ribs” and a “cut-up whole chicken fryer”.

       ANSWER:         Defendant denies the allegations of Paragraph 23. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


       24.    The skills test was given by Piane to plaintiff to complete in the back of the meat
department during plaintiff’s lunch break, while Piane continuously worked out-front.

       ANSWER:         Defendant denies the allegations of Paragraph 24. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


        25.     After plaintiff completed all of the requested meat cuts specified, Piane quickly
looked at the displayed meat cuts and made several general, negative comments about how plaintiff
had trimmed several cuts, how plaintiff made a cut on an improper angle, and how plaintiff could
have made other cuts to produce additional sellable meat cuts from the available larger sections.
Piane then took photographs of the meat cuts completed by plaintiff and directed plaintiff to return
to his workstation at the grill of the meat department.

       ANSWER:         Defendant denies the allegations of Paragraph 25. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


        26.    Without explanation and notwithstanding plaintiff’s clear demonstration of his
knowledge and experience as a meat cutter, Piane refused to assign plaintiff to a meat cutter
position and instead ordered plaintiff to simply return to the grill, where he was assigned to cook
meat as requested by customers. After observing Piane taking photographs of the meat cuts
displayed by plaintiff as instructed as part of the “skills test,” plaintiff also took photographs of
the displayed meat cuts that he had made for the “skills test.”

       ANSWER:         Defendant denies the allegations of Paragraph 26. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.



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        27.     On October 25, 2017, after plaintiff had not been promoted to a meat cutter position
by Piane, plaintiff filed another grievance with his union, Local 881, UFCW, specifically alleging
racial discrimination against Piane and further requested that someone, other than Piane administer
another meat cutter “skills test” in order to support plaintiff’s immediate promotion to a meat cutter
position.

          ANSWER:      Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

and admits only that Plaintiff initiated a workplace grievance pursuant to the Company’s collective

bargaining agreement. Defendant denies any facts or allegations that are inconsistent with the

administration and resolution of that workplace grievance, and denies the remaining allegations of

this paragraph. Defendant further denies there is any merit to Plaintiff’s claims, denies any and all

wrongdoing or liability on its part, and denies that any conduct by Defendant has given rise to any

claims.


        28.     In response to this second grievance, plaintiff met with Christa Bartolini, Vice
President of Human Resources, along with his Local 881 Union representative. Following this
meeting, plaintiff was advised that Mariano’s and the Union did not find that that plaintiff had
been the victim of racial discrimination and that Chris Piane’s opinion that plaintiff had not
demonstrated sufficient meat cutter skills required by the Mariano’s store meat department and
therefore plaintiff was properly denied promotion to a meat cutter position.

          ANSWER:      Defendant admits the allegations of Paragraph 28, but denies any facts that

are inconsistent with the administration and resolution of Plaintiff’s workplace grievance.

Answering further, Defendant denies there is any merit to Plaintiff’s claims, denies any and all

wrongdoing or liability on its part, and denies that any conduct by Defendant has given rise to any

claims.


       29.     On May 31, 2018, plaintiff filed a charge of discrimination with the Equal
Employment Opportunity Commission alleging racial discrimination for failure to promote him to
a meat cutter position on October 6, 2017. The EEOC issued a Right to Sue letter on March 15,
2019 (Exhibit A).

          ANSWER:      Defendant admits that Plaintiff filed a Charge of Discrimination against

Mariano’s with the Equal Employment Opportunity Commission. Defendant lacks sufficient


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information to either admit or deny the remaining allegations set forth in this paragraph and, on

that basis, the allegations are denied.


                              COUNT ONE – Racial discrimination

       30.     Plaintiff repeats, re-alleges and incorporates by reference the factual allegations of
paragraphs 1 through 29, as if fully set forth herein in paragraph 30.

       ANSWER:         Defendant restates and incorporates by reference its answers to Paragraphs

1-29, inclusive, as and for its answer to this Paragraph 30.


       31.      Plaintiff is a member of a protected class, African American, as recognized by Title
VII, and Title 42, United States Code, Section 1981.

       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations in this paragraph can be construed as stating

allegations of fact, Defendant denies all such allegations.


         32.    As an experienced, full-time employee assigned to work in the meat department of
the Mariano’s Stores located in Buffalo Grove, Vernon Hills, and Bannockburn, Illinois, plaintiff
at all time met and exceeded Mariano’s legitimate job expectations as a Level 3 meat clerk.

       ANSWER:         Defendant admits only that Plaintiff worked at multiple Mariano’s

locations, and denies all remaining allegations of this paragraph.


        33.     On or about October 4, 2017, plaintiff suffered an adverse employment action, in
that defendant, by and through its managers, agents and supervisors assigned to the Mariano’s
Store located in Bannockburn, denied plaintiff advancement and promotion to the higher position
of meat cutter, the position that was promised to plaintiff in conjunction with approving plaintiff’s
transfer and reassignment from the Mariano’s Store located in Buffalo Grove to the Mariano’s
Store located in Bannockburn, Illinois in mid-September 2017.

       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations in this paragraph can be construed as stating

allegations of fact, Defendant denies all such allegations. Answering further, Defendant denies




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there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


       34.     In response to plaintiff complaining about being denied the promised advancement
and promotion to a meat cutter position at the Mariano’s Store located in Bannockburn, defendant,
by and through its managers, agents and supervisors assigned to the Mariano’s Store located in
Bannockburn unfairly disregarded plaintiff’s prior work experience as a meat cutter and instead
subjected plaintiff to a unfair “skills test” ostensibly to demonstrate plaintiff’s knowledge and
experience as a meat cutter.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

denies the allegations asserted in this paragraph, denies there is any merit to Plaintiff’s claims,

denies any and all wrongdoing or liability on its part, and denies that any conduct by Defendant

has given rise to any claims.


        35.    Upon information and belief, similarly situated non-African American meat cutters
hired by defendant to work in the meat department in the position of meat cutters at the Mariano’s
Store located at 2999 Waukegan Road, Bannockburn, Illinois were treated more favorably, in that
they were hired and assigned to meat cutter positions in reliance on their prior work experience as
meat cutters, and without being subjected to the same, unfair “skills test” that plaintiff had be
required to complete.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

denies the allegations asserted in this paragraph, denies there is any merit to Plaintiff’s claims,

denies any and all wrongdoing or liability on its part, and denies that any conduct by Defendant

has given rise to any claims.


        36.     Defendant’s complete disregard of plaintiff’s prior work experience as meat cutter
and requirement that plaintiff demonstrate his knowledge and experience as a meat cutter by
completing a different “skills test” that was not required to be taken by any other non-African
American meat cutter hired by defendants, was improper and constituted disparate treatment and
racial discrimination of plaintiff because of his race, African American.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

denies the allegations asserted in this paragraph, denies there is any merit to Plaintiff’s claims,




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denies any and all wrongdoing or liability on its part, and denies that any conduct by Defendant

has given rise to any claims.


        37.     Defendant’s conduct and acts of racial discrimination against plaintiff, were
intentional, malicious and done with a complete disregard to plaintiff’s civil rights as protected by
Title VII and the Civil Rights Act of 1964 and constituted willful and unlawful race discrimination
as prescribed by Title 42, United States Code, Section 1981.

       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations in this paragraph can be construed as stating

allegations of fact, Defendant denies all such allegations, and further denies any and all liability

and allegations of wrongdoing whatsoever.


        38.     As a result of the aforementioned discriminatory acts of defendant, by and through
its, agents, managers, and supervisors, plaintiff, Marlon Bracken suffered and will likely continue
to suffer, grievous harm including, without limitation, substantial loss of income and benefits, loss
of earnings potential, severe damage to his professional reputation, humiliation among co-workers
and emotional distress.

       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations in this paragraph can be construed as stating

allegations of fact, Defendant denies all such allegations, and further denies any and all liability

and allegations of wrongdoing whatsoever.


       WHEREFORE, for all of the reasons set forth above, Defendant respectfully requests that

this Court: (a) enter Judgment in favor of Defendant and against Plaintiff as to all claims asserted

in Count I of Plaintiff’s Complaint, and (b) award to Defendant its actual costs incurred in this

action, together with any such other and further relief as the Court deems just.


                                  COUNT TWO – Retaliation

       39.     Plaintiff repeats, re-alleges and incorporates by reference the factual allegations of
paragraphs 1 through 38, as if fully set forth herein in paragraph 39.



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       ANSWER:         Defendant restates and incorporates by reference its answers to Paragraphs

1-38, inclusive, as and for its answer to this Paragraph 39.


        40.     On May 31, 2018, plaintiff filed a Charge of Discrimination with the EEOC
alleging racial discrimination for failing to promote plaintiff to a meat cutter position from his
current position of meat clerk.

       ANSWER:         Defendant admits that Plaintiff filed a Charge of Discrimination against

Mariano’s with the Equal Employment Opportunity Commission. Defendant lacks sufficient

information to either admit or deny the remaining allegations set forth in this paragraph and, on

that basis, the allegations are denied


       41.     On June 12, 2018, defendant was notified of plaintiff’s EEOC charge alleging racial
discrimination electronically.

       ANSWER:         Defendant lacks sufficient information at this time to either admit or deny

allegations in this Paragraph, and on that basis denies the allegations. Defendant further denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.


        42.    On November 1, 2019, defendant took an adverse employment action against
plaintiff by demoting and reassigning plaintiff to the “delicatessen” and by prohibiting plaintiff
from performing any of his regular duties as a Level 3 meat clerk. Defendants also prohibited
plaintiff from working additional hours in the evening as an available meat cutter, even though
plaintiff was not paid as meat cutter when he worked as a meat cutter during the evening hours.

       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations in this paragraph can be construed as stating

allegations of fact, Defendant denies all such allegations. Answering further, Defendant denies

there is any merit to Plaintiff’s claims, denies any and all wrongdoing or liability on its part, and

denies that any conduct by Defendant has given rise to any claims.




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         43.    Upon information and belief, plaintiff believes that but for filing the EEOC
complaint on May 31, 2018, defendant, on November 1, 2019, by and through its agents, managers
and supervisors at Mariano’s Store located at 2999 Waukegan Road, Bannockburn, Illinois, would
not, without any reason, abruptly reassign plaintiff to the lesser skilled position of “deli clerk”, and
would not have taken action to prevent plaintiff from working additional hours as the evening meat
cutter, since plaintiff had for several months, satisfactorily performed all meat cutter duties during
evening store hours prior to filing the EEOC Charge of racial discrimination.

       ANSWER:         Defendant objects to Plaintiff’s argumentative mischaracterization of facts,

denies the allegations asserted in this paragraph, denies there is any merit to Plaintiff’s claims,

denies any and all wrongdoing or liability on its part, and denies that any conduct by Defendant

has given rise to any claims.


       44.     Defendant’s reassignment of plaintiff to the lesser skilled position of “deli clerk” at
the Mariano’s Store in Bannockburn in November 2019, and further action to preventing plaintiff
from working additional hours as the evening meat cutter, in retaliation for plaintiff’ filing and
pursuing his EEOC complaint filed on May 31, 2018, constituted willful and unlawful retaliation
and interference with plaintiff’s protected rights as provided by Title 42, United States Code,
Section 1981.

       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations in this paragraph can be construed as stating

allegations of fact, Defendant denies all such allegations, and further denies any and all liability

and allegations of wrongdoing whatsoever.


        45.      As a result of unlawful retaliation, by defendants agents, managers, supervisors and
officers, plaintiff, Marlon Bracken has suffered and will likely continue to suffer severe financial
harms, including, without limitation, substantial loss of income and benefits, loss of earnings
potential, severe damage to his professional reputation, humiliation and emotional distress.

       ANSWER:         The allegations set forth in this paragraph state a legal conclusion to which

no response is required. To the extent the allegations in this paragraph can be construed as stating

allegations of fact, Defendant denies all such allegations, and further denies any and all liability

and allegations of wrongdoing whatsoever.




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       WHEREFORE, for all of the reasons set forth above, Defendant respectfully requests that

this Court: (a) enter Judgment in favor of Defendant and against Plaintiff as to all claims asserted

in Count II of Plaintiff’s Complaint, and (b) award to Defendant its actual costs incurred in this

action, together with any such other and further relief as the Court deems just.


                         DEFENDANT’S AFFIRMATIVE DEFENSES

       Defendant Roundy’s Illinois, LLC d/b/a Mariano’s (“Defendant,” “Mariano’s” or the

“Company”), by and through its undersigned counsel, respectfully submits the following

Affirmative Defenses to Plaintiff’s Amended Complaint:

                                  FIRST AFFIRMATIVE DEFENSE

       Plaintiff has failed to state a claim upon which relief may be granted.

                                 SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s claims must be dismissed because the conduct of which he complains did not

constitute an act of discrimination or retaliation as a matter of law.

                                  THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred because Defendant exercised reasonable care to prevent and

promptly correct any discriminatory or retaliatory behavior and Plaintiff unreasonably failed to

take advantage of the preventative opportunities provided by Defendant, or to otherwise avoid the

alleged harm.

                                 FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred because the alleged discrimination or retaliation did not

involve or result in any tangible employment action.




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                                     FIFTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred because Defendant exercised all reasonable and due care in

discovering and remedying any allegedly discriminatory or retaliatory conduct.

                                     SIXTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred because the allegedly discriminatory or retaliatory conduct

was not conducted by anyone acting within the scope of their duties as an employee of Defendant.

                                 SEVENTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred because Defendant did not aid, abet, ratify, condone,

encourage or acquiesce in any alleged discriminatory or retaliatory conduct.

                                     EIGHTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred because the alleged conduct does not constitute discrimination

or retaliation as a matter of law.

                                     NINTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims must be dismissed because the employment decisions regarding Plaintiff,

including inter-department transfer, were made for valid, non-discriminatory reasons.

                                     TENTH AFFIRMATIVE DEFENSE

        Plaintiff is not entitled to damages because Defendant at no time engaged in any willful or

intentional discriminatory or retaliatory conduct, and at no time engaged in any discriminatory or

retaliatory practice or conduct with malice or reckless indifference to Plaintiff’s rights.

                                ELEVENTH AFFIRMATIVE DEFENSE

        Plaintiff’s claims are barred, in whole or in part, by the principles of waiver and estoppel.




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                                TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff has failed to mitigate his damages.

                               THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by the applicable statute(s) of limitation, because Plaintiff

failed to commence his action within 90 days following his receipt of a “right to sue” letter, and/or

commenced this lawsuit prior to exhausting his administrative remedies.

                              FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims that are outside the substantive and/or temporal scope of the EEOC

charge of discrimination referenced in his Complaint (the “Charge”), or were improperly included

as part of the Charge, are barred due to Plaintiff’s failure to fulfill the administrative requirements

set forth in 42 U.S.C. §2000e-5.

                                FIFTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims must be dismissed, and he is not entitled to any recovery in this case;

however, in the event Plaintiff ultimately prevails on any of his claims, then his damages are

limited by all relevant and applicable statutory caps.

                           PRESERVATION OF AFFIRMATIVE DEFENSES

       Defendant by this statement preserves all future affirmative defenses that may be supported

by the evidence in this cause, and respectfully reserves the right to supplement its affirmative

defenses based upon such evidence.

       WHEREFORE, for all of the reasons set forth above, Defendant respectfully requests that

this Court: (a) enter Judgment in favor of Defendant and against Plaintiff as to all claims asserted

in Plaintiff’s Complaint, and (b) award to Defendant its actual costs incurred in this action, together

with any such other and further relief as the Court deems just.


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Dated: March 13, 2020                Respectfully submitted,

                                     ROUNDY’S ILLINOIS, LLC d/b/a
                                     MARIANO’S, Defendant

                                      /s/ Christopher S. Griesmeyer
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                                     Adam C. Maxwell (ARDC No. 6306534)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2020, I electronically filed the foregoing Defendant’s

Answer and Affirmative Defenses to Plaintiff’s First Amended Complaint, with the Clerk of the

Court via the CM/ECF System, which will send notification of such filing to those registered to

receive electronic notices via email transmission at the email addresses provided by them

including:


       Gregory T. Mitchell
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                                             /s/ Christopher S. Griesmeyer
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